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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  4:02CR3049
                              )
          v.                  )
                              )
DAVID W. LOTT,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue (Filing No. 112).       The Court notes plaintiff has no

objection thereto, and defendant has filed a written waiver of

speedy trial.    Accordingly,

           IT IS ORDERED that trial of this matter is rescheduled

for:

                 Monday, April 24, 2006, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.     The ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.        The additional time between

February 6, 2006, and April 24, 2006, shall be deemed excludable
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time in any computation of time under the requirement of the

Speedy Trial Act.       18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 31st day of January, 2006.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
